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                     UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF ILLINOIS
UNITED STATES OF AMERICA         )
                Plaintiff,       )
                                 )
          v.                     )    Case No. 22-CR-10009-JES-JEH
                                 )
JASON MUSSELMAN,                 )
                Defendant.       )

                                    ORDER AND OPINION

       This matter is now before the Court on Defendant’s Motion (Doc. 34) to Withdraw Plea

of Guilty and the United States’ Response (Doc. 35). For the following reasons, Defendant’s

Motion is DENIED.

                                           Background

       Defendant Jason Musselman was charged by a seven-count indictment on March 15,

2022. Doc. 11. This included five counts of Production of Child Pornography (Counts 1-5), one

count of Distribution of Child Pornography (Count 6), and one count of Possession of Child

Pornography (Count 7). Each of the five production counts corresponded to a different minor

victim, referred to anonymously herein as Minor Victim #. On November 17, 2022, Defendant

entered into a plea agreement with the United States and pled guilty to Counts 1, 6, and 7. Doc.

25. On that date, the Court conducted a hearing pursuant to Federal Rule of Criminal Procedure

11(c)(1)(A) and (B) and confirmed that his guilty was a knowing and voluntary waiver of his

rights and was supported by an adequate factual basis. See Minute Entry Dated 11/17/2022. On

May 11, 2023, Defendant filed a motion to withdraw his guilty plea as to Count 1 only. Doc. 34.

       The facts as established in the plea agreement are as follows. Doc. 25. Defendant placed

an iPhone in the windowsill overlooking a tanning bed in a back room of his residence.

Defendant invited at least eight minor girls in the area to use the tanning bed and surreptitiously



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recorded video of them using the tanning bed on the cell phone. From this video, Defendant

produced a number of still images, some of which were likely zoomed in or otherwise altered to

focus on the lascivious aspects of the images. With respect to Count 1 of the indictment, the

images show Minor Victim 1 when she was under sixteen years old, and some images included

computer generated titles with a time stamp prior to Minor Victim 1 reaching the age of sixteen.

                                              Discussion

         The Court may allow a defendant to withdraw a guilty plea prior to sentencing if he can

show a “fair and just reason.” Fed. R. Crim. P. 11(d)(2). Fair and just reasons for withdrawing a

plea recognized by the Seventh Circuit include: that the plea was not made knowingly and

voluntarily; actual innocence; and a legal innocence. United States v. Mays, 593 F.3d 603, 607

(7th Cir. 2010). On a motion to withdraw a guilty plea, the Court can “permit the withdrawal of

the plea, conduct an evidentiary hearing, or deny the motion with an explanation as to why the

evidence is insufficient or incredible.” United States v. Rinaldi, 461 F.3d 922, 927 (7th Cir.

2006).

         Defendant’s motion argues that he is legally innocent of Count 1 as he argues that the

images he produced do not qualify as “sexually explicit conduct” as required for conviction

under 18 U.S.C. §2251(a) and (e). Sexually explicit conduct includes “lascivious exhibition of

the anus, genitals, or pubic area of any person.” 18 U.S.C. 2256(2)(A).

         Defendant argues that the images at issue in this case are similar to ones that the Fifth

Circuit held did not depict sexually explicit conduct in United States v. Steen, 634 F.3d 822 (5th

Cir. 2011). In Steen, the defendant placed a camera over the top of the walls of a tanning studio

and surreptitiously recorded a 15 second video of a minor girl entering a tanning bed. Steen, 634

F.3d at 824. Most of the video displayed the girl’s back and hair, and her pubic region was



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visible on the right edge of the frame for only 1.5 seconds. Id. The Fifth Circuit evaluated the

video using the six factors in United States v. Dost., 636 F.Supp. 828 (S.D. Cal. 1986), aff’d, 813

F.2d 1231 (9th Cir. 1987) (unpublished). 1 The Fifth Circuit held that the video in Steen was not a

lascivious exhibition of the minor’s genitals. Steen, 634 F.3d at 828. The Court noted that the

first three Dost factors were not met as the minor’s genitals were only visible for 1.5 seconds and

that the location of the videos, a tanning salon, was not a sexually suggestive setting and the

minor’s movements were not unnatural because she did not know she was being filmed. Id. For

the sixth factor, the Fifth Circuit held that the mere voyeuristic recording of a nude minor was

not enough to show the depiction was intended or designed to elicit a sexual response in the

viewer. Id. at 828-29. In their holding on this factor, the Court recognized a difference between

“the peeking of a voyeur upon an unaware subject pursuing activities unrelated to sex” and “a

photographer select[ing] and position[ing] his subjects.” Id. at 829.

         Defendants case is readily distinguishable from Steen. Unlike the voyeurism in Steen who

merely poked his camera over the walls of a tanning salon to record whomever was using the

adjacent tanning bed, Defendant carefully and intentionally set up the circumstances which

allowed him to record nude minors. He placed a phone set to record in a windowsill and the

invited a slew of young girls to use his tanning bed. He specifically angled his phone so that it

would look at the foot end of the tanning bed so that it would best be able to capture footage of
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 The six factors set out in Dost for evaluating whether content depicts lasciviousness exhibition of the genitals and
pubic area are:
1) whether the focal point of the visual depiction is on the child's genitalia or pubic area;
2) whether the setting of the visual depiction is sexually suggestive, i.e., in a place or pose generally associated with
sexual activity;
3) whether the child is depicted in an unnatural pose, or in inappropriate attire, considering the age of the child;
4) whether the child is fully or partially clothed, or nude;
5) whether the visual depiction suggests sexual coyness or a willingness to engage in sexual activity;
6) whether the visual depiction is intended or designed to elicit a sexual response in the viewer. Dost, 636 F.Supp. at
832.
While a number of other circuits have expressly adopted the Dost factors, the Seventh Circuit has not explicitly done
so and has discouraged their mechanical or routine use. See U.S. v. Miller, 829 F.3d 519, 527 n. 1 (7th Cir. 2016)
(citing U.S. v. Price, 775 F.3d 828, 839-40 (7th Cir. 2014)).

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the victims’ genitalia. He took this footage from the phone and transferred it to a computer,

where he edited out still images that best captured the minors’ genitals. It is ultimately those still

images which were the basis for Counts 1 through 5 in the indictment. These images by design

focused heavily on the genitals of the minor victims, and some of them appear to be zoomed in

specifically on the genitals. This is not the voyeuristic recording of mere nudity discussed in

Steen 2, the images were clearly intended and designed by Defendant to elicit a sexual response in

the viewer.

         The Seventh Circuit has held that the “subjective intent- particularly that of the creator-

is a relevant, and quite probative, consideration” in determining lasciviousness. U.S. v. Miller,

829 F.3d at 519, 525. The defendant in Miller, like the defendant in this case, took explicit steps

to modify his home and entice girls to use his downstairs shower so that he could secretly record

them doing so. Id. The Seventh Circuit held that this was sufficient evidence for the inference

that “he was creating the videos because they sexually excite him.” Id. The same can be said for

the Defendant. He engaged in this scheme to get local girls to use his tanning bed so he could

record them doing so, and subsequently edited the footage to produce images of their genitals for

his sexual gratification. This is sufficient to be a lascivious exhibition of the genitals and pubic

area under Seventh Circuit precedent.

                                                     Conclusion

         The facts as alleged in Defendant’s plea agreement are more than enough to establish that

the images underlying Count 1 depicted a minor engaged in sexually explicit conduct in violation

of 18 U.S.C. §2251(a). Defendant has thus failed to articulate a fair and just reason to withdraw


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 Defendant also directs the Court to the D.C. Circuit’s decision in U.S. v. Hillie, 39 F. 4th 674 (D.C. Cir. 2022) for the
proposition that videos of minors engaging in ordinary activities rather than engaging in sexually explicit conduct
or overt sexual activity are inadequate for a conviction under §2251(a). The Court finds Hillie distinguishable for
essentially the same reasons as Steen.

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his guilty plea as to Count 1 and his Motion (Doc. 34) to do so is DENIED. This matter remains

set for sentencing on May 24, 2023.

       Signed on this 15th day of May, 2023,

                                            s/ James E. Shadid
                                            James E. Shadid
                                            United States District Judge




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